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                                  3                                     UNITED STATES DISTRICT COURT
                                  4                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  7    BROWN, ET AL.,                                     Case No. 4:20-cv-03664-YGR
                                  8                                                       ORDER GRANTING DEFENDANT’S MOTION TO
                                                   Plaintiffs,                            STAY
                                  9
                                              v.
                                  10                                                      Re: Dkt. No. 1148.
                                       GOOGLE, LLC,
                                  11
                                                    Defendant.
Northern District of California




                                  12
 United States District Court




                                  13          Defendant Google, LLC seeks to stay proceedings in this Court pending the Ninth Circuit’s
                                  14   resolution of this Court’s order denying a motion to intervene. Having carefully considered the
                                  15   papers submitted and the pleadings in this action, and for the reasons set forth below, the motion is
                                  16   GRANTED. 1
                                  17          I.        BACKGROUND
                                  18          The Court recounts only those facts pertinent to the instant motion. Plaintiffs filed this
                                  19   action in June 2020, alleging defendant’s surreptitious collection of user data “no matter what
                                  20   safeguards consumers undertake to protect their data privacy.” (Dkt. No. 1 at 2 (emphasis in
                                  21   original).) The Court granted in part plaintiffs’ motion for class certification in December 2022,
                                  22   allowing the action to proceed only under Rule 23(b)(2), and denying plaintiffs’ motion to certify a
                                  23   Rule 23(b)(3) damages class. (Dkt. No. 803). The parties reached a settlement and moved for final
                                  24   approval and attorneys’ fees in April 2024. (See Dkt. Nos. 1093, 1096, 1107). That settlement
                                  25   included provisions in which the five named plaintiffs waived their rights to appeal the Court’s
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                                  28             Pursuant to Federal Rule of Civil Procedure 78(b) and Civil Local Rule 7-1(b), the Court
                                       finds this motion appropriate for decision without oral argument.
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                                  1    denial of a damages class and agreed to arbitrate their own damages claims. The settlement was
                                  2    also governed in part by a tolling agreement the parties had jointly executed earlier in the action.
                                  3           Just over one month before the hearing on the motions for settlement approval and
                                  4    attorneys’ fees, would-be intervenors (“the Salcido plaintiffs”) filed a motion to intervene. (Dkt.
                                  5    No. 1116, Motion to Intervene.) That group was comprised of 185 state-court plaintiffs currently
                                  6    seeking damages on grounds largely identical to those in this action. The intervention motion took
                                  7    no issue with the substance of the injunctive relief negotiated by the parties, but claimed the
                                  8    settlement was unfair in its disparate treatment of the named class representatives and the Salcido
                                  9    plaintiffs. More specifically, the Salcido plaintiffs alleged the following:
                                  10                  •   First, whereas named class members could arbitrate their damages claims using
                                  11                      procedures enumerated in the settlement agreement, the Salcido plaintiffs “must
                                  12                      individually file actions in state court, paying costs and fees, prove up their case
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                                  13                      using evidence either adduced during that litigation or obtained by way of this
                                  14                      motion, present liability and damages evidence to the trier of fact, subject to
                                  15                      Google’s complete line of defenses, which judgment would then be appealable
                                  16                      by Google when Moving Parties were found successful at trial.” (Id. at 11.)
                                  17                  •   Second, the Salcido plaintiffs “cannot rely on class counsel or class
                                  18                      representatives to adequately protect their individual interests in pursuing
                                  19                      damages claims in that they prepared the agreement that benefits Plaintiffs over
                                  20                      most absent class members. Moving Parties have no expectation that class
                                  21                      counsel will pursue damages remedies on their behalf. Indeed, counsel for
                                  22                      Moving Parties sought information regarding the tolling agreement, class
                                  23                      counsel refused to provide a copy or any information regarding the negotiations
                                  24                      leading to the agreement.” (Id.)2
                                  25          The Court took argument on the intervention motion and issued a denial, which the Salcido
                                  26   plaintiffs appealed. That appeal is now pending before the Ninth Circuit. Google thus moves for a
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                                                 In opposition to the instant motion, plaintiffs clarify that would-be intervenors received a
                                  28   copy of the tolling agreement in between the filing of their initial motion to intervene and the filing
                                       of their reply.

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                                  1    stay of proceedings in this Court, arguing that the pending appeal divested this Court of jurisdiction
                                  2    over the case.
                                  3           II.       LEGAL STANDARD
                                  4           Under Griggs v. Provident Consumer Disc. Co., “[t]he filing of a notice of appeal is an
                                  5    event of jurisdictional significance—it confers jurisdiction on the court of appeals and divests the
                                  6    district court of its control over those aspects of the case involved in the appeal.” 459 U.S. 56, 58
                                  7    (1982) (emphasis supplied).
                                  8           III.      ANALYSIS
                                  9           As per Griggs, the operative question thus becomes whether there are “aspects of the case
                                  10   involved in the appeal” intertwined with the Court’s consideration of the motions pending before it.
                                  11   (Id.) The Court finds there are.
                                  12          The Salcido plaintiffs identify in their motion several aspects of the proposed settlement that
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                                  13   they feel treat named class members preferentially. Success at the Court of Appeals would possibly
                                  14   require redrafting of those provisions. Indeed, both the initial intervention motion and a
                                  15   subsequently filed motion for reconsideration invoke terms found in the agreement itself as a basis
                                  16   for objecting to the Court’s approval of the agreement.
                                  17          Nor do plaintiffs’ arguments to the contrary persuade. First, plaintiffs argue that the Salcido
                                  18   plaintiffs do not actually oppose the settlement agreement, but rather ultimately just oppose the
                                  19   Court’s class certification ruling. Second, plaintiffs aver that because the text of the proposed
                                  20   settlement “places no restrictions on the ability of any [non-named plaintiff] to seek leave from this
                                  21   Court to appeal the denial of Rule 23(b)(3) certification,” the intervention motion currently on
                                  22   appeal does not implicate the Court’s analysis of the motion to approve it. (Dkt. No. 1149 at 3.)
                                  23   They also point to an admission from Google’s counsel that the agreement did not (because it could
                                  24   not) waive any non-named plaintiff’s right to appeal rulings from this Court. Third, plaintiffs
                                  25   support their position by noting that the Salcido plaintiffs agreed they take no issue with the
                                  26   injunctive relief negotiated as part of the settlement.
                                  27          The arguments are misplaced. The Salcido plaintiffs do ultimately oppose the settlement, as
                                  28   evidenced by the myriad provisions contained within it identified in their moving papers. That their


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                                  1    primary objection to the agreement (concerning damages) is different than the parties’ primary
                                  2    purpose in drafting it (injunctive relief) does not mean the disagreement does not implicate the
                                  3    settlement at all. Nor do the statements collected from Google and the Salcido plaintiffs change the
                                  4    fundamental fact that the intervention motion sought to delay this Court’s approval of the
                                  5    agreement.
                                  6            Second, plaintiffs argue that the Court has discretion whether to issue a stay or not, and that
                                  7    a stay is unwarranted. The Court disagrees. Griggs is jurisdictional and thus any action taken by the
                                  8    Court during the pendency of this appeal would be null and void. See Kusay v. United States, 62
                                  9    F.3d 192 (7th Cir. 1995).
                                  10           In sum, this Court is under a duty to faithfully consider whether the appeal currently filed
                                  11   divests it of jurisdiction to proceed with the motions pending before it. Because the Salcido
                                  12   plaintiffs object to the very settlement plaintiffs want the Court to approve, the Court concludes it
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                                  13   does.
                                  14           IV.    CONCLUSION
                                  15           For the reasons stated above, the Court finds it is without jurisdiction to resolve the motions
                                  16   pending before it in this matter prior to a mandate from the Court of Appeals. Defendant’s motion
                                  17   to stay is GRANTED.
                                  18           This terminates Docket No. 1148.
                                  19           IT IS SO ORDERED.
                                  20   Date: November 8, 2024                           _______________________________________
                                                                                                YVONNE GONZALEZ ROGERS
                                  21                                                       UNITED STATES DISTRICT COURT JUDGE
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